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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *     CRIMINAL NO. 23-cr-257 (TSC)
                                                *
 DONALD J. TRUMP,                               *
                                                *
                Defendant.                      *
                                                *

          GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
     TO STRIKE INFLAMMATORY ALLEGATIONS FROM THE INDICTMENT

       On January 6, 2021, “[l]ives were lost; blood was shed; portions of the Capitol building

were badly damaged; and the lives of members of the House and Senate, as well as aides, staffers,

and others who were working in the building, were endangered.” Trump v. Thompson, 20 F.4th

10, 35-36 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 1350 (2022). Yet publicly, the defendant has

promoted and extolled the events of that day. While the violent attack was ongoing, the defendant

told rioters that they were “very special” and that “we love you.” In the years since, he has

championed rioters as “great patriots” and proclaimed January 6 “a beautiful day.” In this case,

though, the defendant seeks to distance himself, moving to strike allegations in the indictment

related to “the actions at the Capitol on January 6, 2021.” ECF No. 115 at 1. The Court should

recognize the defendant’s motion for what it is: a meritless effort to evade the indictment’s clear

allegations that the defendant is responsible for the events at the Capitol on January 6. Indeed,

that day was the culmination of the defendant’s criminal conspiracies to overturn the legitimate

results of the presidential election, when the defendant directed a large and angry crowd—one that

he had summoned to Washington, D.C., and fueled with knowingly false claims of election

fraud—to the Capitol to obstruct the congressional certification proceeding. When his supporters

did so, including through violence, the defendant did not try to stop them; instead, he encouraged
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them and attempted to leverage their actions by further obstructing the certification. Contrary to

the defendant’s claims, then, the indictment’s allegations related to the actions at the Capitol are

relevant and probative evidence of the defendant’s conduct and intent, and they are neither

prejudicial nor inflammatory. His motion to strike them from the indictment must be denied.

I.     Background

       On August 1, 2023, the grand jury returned an indictment charging the defendant with

perpetrating three criminal conspiracies that targeted the collection, counting, and certification of

the 2020 presidential election results, and with obstructing, and attempting to obstruct, the

congressional certification of those results, which took place at the United States Capitol on

January 6, 2021. ECF No. 1. The congressional certification on January 6 was central to the

defendant’s criminal conspiracies and his obstruction effort, and the indictment makes clear that

he bears responsibility for the actions at the Capitol on that day.

       First, in the months after the 2020 presidential election, the defendant cultivated

widespread anger, resentment, and mistrust of the election results by spreading knowingly false

claims of election fraud. Id. at ¶¶ 4, 87. In the weeks leading up to January 6, the defendant

repeatedly urged his supporters to travel to Washington, D.C., on the day of the congressional

certification, telling them, “Be there, will be wild!” Id. at ¶¶ 87, 90, 96.

       Then, on January 6, the defendant used multiple means to attempt to obstruct the

congressional certification, including by directing an angry and violent crowd to the Capitol. Id.

at ¶¶ 10d, 10e. In particular, the indictment alleges that, on the morning of the certification, the

defendant reiterated knowingly false claims of election fraud and gave his supporters false hope

that the Vice President could and might still change the election outcome to favor the defendant.

Id. at ¶ 104. The defendant then exhorted his supporters to “fight like hell” and go to the Capitol.




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Id. Following this instruction, thousands of people marched to the Capitol both during and after

the defendant’s speech. Id. at ¶ 105.

       As the crowd at the Capitol—which included supporters the defendant had called to the

city and directed to the Capitol—broke through barriers, violently attacked law enforcement

officers attempting to secure the building, and broke into the building, the defendant refused to

take action to calm the violence. Id. at ¶¶ 107, 110. Instead, he sought to further stoke anger,

which he had initially cultivated, against the Vice President. After the defendant issued a tweet

that the Vice President “didn’t have the courage to do what should have been done,” members of

the crowd responded, chanting phrases such as “Hang Mike Pence!”; “Where is Pence? Bring him

out!”; and “Traitor Pence!” Id. at ¶¶ 106, 111, 113.

       Finally, as the attack on the Capitol halted the congressional certification for several hours,

the defendant and his co-conspirators sought to exploit the delay to further obstruct the proceeding.

Id. at ¶¶ 119-121.

II.    Applicable Law

       Although Federal Rule of Criminal Procedure 7(d) allows that a court may, upon a

defendant’s motion, “strike surplusage from the indictment or information,” such motions “are

highly disfavored in this Circuit.” United States v. Watt, 911 F. Supp. 538, 554 (D.D.C. 1995).

See also United States v. Rezaq, 134 F.3d 1121, 1134 (D.C. Cir. 1998) (the standard under Rule

7(d) “has been strictly construed against striking surplusage”) (quoting United States v. Jordan,

626 F.2d 928, 930 n.1 (D.C. Cir. 1980)). A court’s discretion whether to strike allegations as

surplusage is thus “narrow” in scope. United States v. Oaker, 111 F.3d 146, 157 (D.C. Cir. 1997).

       The defendant “must overcome a most severe burden to move this court to order language

from the indictment stricken.” Watt, 911 F. Supp. at 554. He must satisfy a trio of requirements,




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showing “that the allegations are [1] not relevant to the charge and are [2] inflammatory and [3]

prejudicial.” Rezaq, 134 F.3d at 1134 (quoting 1 Charles Alan Wright, Federal Practice and

Procedure § 127, at 426 (1982)). This test is conjunctive: a shortcoming on any prong fails to

meet the standard. See United States v. Trie, 21 F. Supp. 2d 7, 20 (D.D.C. 1998) (“On the other

hand, relevant language generally ‘should not be stricken even if it may be prejudicial.’” (emphasis

in original) (quoting United States v. Weinberger, No. 92-cr-235, 1992 WL 294877, at *7 (D.D.C.

Sept. 29, 1992)); United States v. Hedgepeth, 434 F.3d 609, 612-13 (3d Cir. 2006) (“Logic

demands the conjunctive standard: information that is prejudicial, yet relevant to the indictment,

must be included for any future conviction to stand and information that is irrelevant need not be

struck if there is no evidence that the defendant was prejudiced by its inclusion.” (citing cases)).

For instance, “if the language in the indictment is information which the government hopes to

properly prove at trial, it cannot be considered surplusage no matter how prejudicial it may be

(provided, of course, it is legally relevant).” United States v. Thomas, 875 F.2d 559, 562 n.2 (6th

Cir. 1989) (internal citations omitted). As a result, “only rarely has surplusage been ordered

stricken.” Watt, 911 F. Supp. at 554 (quoting Wright, § 127).

III.   Argument

       In his motion, the defendant seeks to strike language from the indictment—including one

of the charged manner and means by which the grand jury found the defendant furthered his

criminal conspiracies—related to actions at the Capitol on January 6, 2021. ECF No. 115 at 1.

But the defendant’s argument to strike “surplusage” from the indictment fails because what he

seeks to strike is not surplusage at all; rather, it is relevant evidence of his criminal attempts to

overturn the results of the election through, among other means, directing an angry crowd to the

Capitol to disrupt the certification proceeding. Evidence of the actions at the Capitol is also




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relevant and probative of the defendant’s motive and intent before, on, and after January 6—the

day that each of the defendant’s criminal conspiracies came to a head—and provides necessary

context for the criminal conduct with which he is charged. Finally, the indictment’s recitation of

the events at the Capitol on January 6 is neither inflammatory nor prejudicial. Because the

defendant’s motion fails to meet each prong of the test for striking language from an indictment,

his motion should be denied.

       A.      No Prejudice Can Result from the Indictment Language

       This Court, consistent with others in this District, does not provide the jury a copy of the

indictment. As a result, no prejudice can possibly result from any charging language. See

Hedgepeth, 434 F.3d at 613 (defendant’s prejudice claim fails where jury was not shown the

indictment, “as information never revealed to the jury could not have prejudiced its deliberations”);

cf. Trie, 21 F. Supp. 2d at 19 (recognizing possibility of prejudice from indictment allegations

stemming from the court’s practice of providing the jury with the indictment). The Court should

deny the defendant’s motion on this basis alone.

       B.      The Defendant Fails to Establish Any Basis to Strike Language from the
               Indictment about the January 6 Attack on the Capitol

       The defendant’s motion is premised on the disingenuous claim that he is not charged with

“responsibility for the actions at the Capitol on January 6, 2021.” ECF No. 115 at 1. But the

indictment clearly alleges, and the Government will prove at trial, that the defendant bears such

responsibility, and the evidence supporting these allegations in the indictment is relevant and

probative of his conduct and intent.

               1.      Information about the January 6 attack on the Capitol is relevant to
                       all of the charges against the defendant

       The defendant makes only a cursory and conclusory attempt to claim that the indictment’s

allegations regarding actions at the Capitol on January 6 are not relevant, ECF No. 115 at 2-4,


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because he knows that they are. Indeed, when it suits his purposes, the defendant concedes in

other filings that the events at the Capitol on January 6 are central to this case. In his motion to

dismiss the indictment on grounds of presidential immunity, for instance, the defendant claimed

immunity from prosecution because “[i]n January 2021, he was impeached on charges arising from

the same course of conduct at issue in the indictment,” ECF No. 74 at 19—including inciting

followers to take “lawless action at the Capitol” 1—and was acquitted. When seeking leave to issue

Rule 17(c) subpoenas for material from the House Select Committee to Investigate the January 6th

Attack on the United States Capitol, the defendant acknowledged that the indictment “directly

alleges that [the defendant] ‘directed [supporters] to the Capitol to obstruct the certification

proceeding,’” and argued that any Select Committee records of his and others’ knowledge and

intent related to actions at the Capitol on January 6 “is plainly relevant.” ECF No. 99 at 11 (quoting

ECF No. 1 at ¶ 10(d)). The defendant claimed that without the requested documents (which, as

the Government explained in its response, he already has, see ECF No. 119), he could not “possibly

have a fair trial.” Id. at 10.

        Thus, as the defendant has acknowledged in his other filings, the charged allegations that

the defendant seeks to strike are plainly relevant to all the counts in the indictment, which alleges

that the defendant engaged in a multipronged endeavor to overturn the 2020 presidential election,

disenfranchise voters, and obstruct the transfer of presidential power. As various earlier efforts in

furtherance of his conspiracies failed, the defendant and his co-conspirators turned their focus to

the congressional certification on January 6. Ultimately, the defendant’s three conspiracies

culminated and converged when, on January 6, the defendant attempted to obstruct and prevent



        1
        H. RES. 24 (117th Cong. 1st Sess.) at 3, available at https://www.congress.gov/bill/
117th-congress/house-resolution/24/text.


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the congressional certification at the Capitol. One of the ways that the defendant did so, as alleged

in the indictment, was to direct an angry crowd of his supporters to the Capitol and to continue to

stoke their anger while they were rioting and obstructing the certification.

       At trial, the Government will prove these allegations with evidence that the defendant’s

supporters took obstructive actions at the Capitol at the defendant’s direction and on his behalf.

This evidence will include video evidence demonstrating that on the morning of January 6, the

defendant encouraged the crowd to go to the Capitol throughout his speech, giving the earliest

such instruction roughly 15 minutes into his remarks; testimony, video, photographic, and

geolocation evidence establishing that many of the defendant’s supporters responded to his

direction and moved from his speech at the Ellipse to the Capitol; and testimony, video, and

photographic evidence that specific individuals who were at the Ellipse when the defendant

exhorted them to “fight” at the Capitol then violently attacked law enforcement and breached the

Capitol.

       The indictment also alleges, and the Government will prove at trial, that the defendant used

the angry crowd at the Capitol as a tool in his pressure campaign on the Vice President and to

obstruct the congressional certification. Through testimony and video evidence, the Government

will establish that rioters were singularly focused on entering the Capitol building, and once inside

sought out where lawmakers were conducting the certification proceeding and where the electoral

votes were being counted. And in particular, the Government will establish through testimony and

video evidence that after the defendant repeatedly and publicly pressured and attacked the Vice

President, the rioting crowd at the Capitol turned their anger toward the Vice President when they

learned he would not halt the certification, asking where the Vice President was and chanting that

they would hang him.




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       Relevancy is a low bar. See United States v. Latney, 108 F.3d 1446, 1449 (D.C. Cir. 1997)

(“So long as the evidence makes a fact of consequence more or less likely, it is relevant.”). Thus,

courts in this District have rejected challenges, like the defendant’s, to the relevance of evidence

of the attack on the Capitol on January 6. See United States v. Stedman, No. 21-cr-383, 2023 WL

3303818, at *2 (D.D.C. May 8, 2023) (citing cases). In multiple cases involving January 6

offenders charged with obstructing the certification proceeding in violation of Section 1512(c),

courts have determined that relevant evidence to prove the obstruction includes evidence of others’

conduct at the Capitol. The court in Stedman, for instance, considered a defendant’s motion to

exclude, as irrelevant and unduly prejudicial, evidence of events and conduct on January 6 for

which he was not present and not personally aware. Id. at *1. Finding the defendant’s motion

“untenable” under evidentiary relevance standards, id., the court noted that “[p]lainly, others’

actions on January 6 at the Capitol, in combination with defendant’s own actions, are relevant” to

whether the certification proceeding was obstructed, id. at 2. The court ruled similarly in United

States v. Carpenter, No. 21-cr-305, 2023 WL 1860978 (D.D.C. Feb. 9, 2023). Considering a

defendant’s request to exclude “general” evidence about events of January 6 in which she did not

take part, the Carpenter court denied the request on the grounds that such evidence “would be

highly relevant” to prove, as necessary for a violation of Section 1512(c), “that there was an official

proceeding, and that such proceeding was in fact disrupted.” Id. at *3; see also United States v.

Bennett, No. 21-cr-312, 2023 WL 6460026, at *5 (D.D.C. Oct. 4, 2023) (finding that “general

evidence of the events of January 6 is probative of multiple elements of the crimes with which”

that defendant was charged, including Section 1512, and “[b]ackground video evidence is plainly

probative of whether there was an official proceeding and whether such proceeding was in fact

disrupted”).




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       Likewise, the defendant here is charged with four related criminal counts, including

conspiring to obstruct and obstructing the official certification proceeding on January 6. Essential

to those charges are factual allegations and evidence that the proceeding was in fact impeded—

namely, by a large crowd, including individuals whom the defendant had directed at the Capitol,

that violently advanced on the Capitol building to create “a catastrophic security risk requiring the

evacuation” of lawmakers (including the Vice President) and delaying the certification by several

hours. Stedman, 2023 WL 3303818, at *1.

               2.      Information about the events of the January 6 attack on the Capitol
                       helps show the defendant’s motive and intent

       The events at the Capitol on January 6 are additionally relevant to proving the defendant’s

intent and motive. United States v. Espy, 23 F. Supp. 2d 1, 7 (D.D.C. 1998) (finding allegations

that “provide the jury information on issues of intent and motivation” were relevant and would not

be struck); Trie, 21 F. Supp. 2d at 19 (“The government is not precluded from including

information in the indictment used to . . . establish the defendant’s state of mind, intent and

motives.” (cleaned up)). The four charges against the defendant variously require proof that he

acted knowingly and corruptly in his efforts to overturn the election results, and the defendant’s

actions before, during, and after the riot at the Capitol are powerful and probative evidence of his

motive and intent for each conspiracy and for the obstruction charge.

       As set forth in the indictment, on the morning of January 6, the defendant knew that the

crowd that he had gathered in Washington for the certification “was going to be ‘angry.’” ECF

No. 1 at ¶ 98. Despite this knowledge—or perhaps because of it—in his remarks to supporters,

the defendant told knowing lies about the Vice President’s role in the congressional certification,

stoked the crowd’s anger, and directed them to march to the Capitol and “fight.” Id. at ¶ 104.




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       Next, the Government will prove that the defendant’s knowing and corrupt intent is clear

from his actions, and purposeful inaction, during the attack on the Capitol. Cf. United States v.

Griffith, No. 21-cr-244-2, 2023 WL 2043223, at *3 (D.D.C. Feb. 16, 2023) (in prosecution of

January 6 offender, conduct by others and events at the Capitol other than defendant’s location

were relevant to defendant’s mental state); United States v. MacAndrew, No. 21-cr-730, 2022 WL

17961247, at *3 (D.D.C. Dec. 27, 2022) (“Statements by political leaders and the conduct and

statements made by the mob surrounding Defendant both bear on Defendant’s mental state at the

time of the charged offenses.”). Through testimony and video evidence, the Government will

show that following his public remarks, the defendant returned to the White House and watched

hours of television—including footage of crowds marching from his Ellipse event to the Capitol

and swarming Capitol grounds, and news reporting of law enforcement injuries, threats inside the

building, and lawmakers in hiding. Testimony will establish that the defendant was informed of,

though indifferent to, the fact that the Vice President had to be evacuated from the Senate to a

secure location.   Although the defendant knew that the certification proceedings had been

interrupted and suspended, he rejected multiple entreaties to calm the rioters and instead provoked

them by publicly attacking the Vice President. ECF No. 1 at ¶111. And instead of decrying the

rioters’ violence, he embraced them, issuing a video message telling them that they were “very

special” and that “we love you.” Id. at ¶ 116. Finally, while the violent riot effectively suspended

the proceedings over which the Vice President had been presiding, the defendant and his co-

conspirators sought to shore up efforts to overturn the election by securing further delay through

knowing lies. Id. at ¶¶ 119, 120.

       The Government will further establish the defendant’s criminal intent by showing that, in

the years since January 6, despite his knowledge of the violent actions at the Capitol, the defendant




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has publicly praised and defended rioters and their conduct. There is a robust public record of how

rioters’ actions at the Capitol on January 6 were extraordinarily violent and destructive, including

attacks on law enforcement officers with flag poles, tasers, bear spray, and stolen riot shields and

batons. One officer who was dragged into the crowd endured a brutal beating while members of

the crowd reportedly yelled, “Kill him with his own gun!” Terrified lawmakers and staff hid in

various places inside the building, and many were evacuated. Despite this, the defendant has never

wavered in his support of January 6 offenders. For instance, the Government will introduce at trial

the defendant’s own statements in the years since January 6 proclaiming it “a beautiful day” and

calling rioters “patriots,” many of whom he “plan[s] to pardon.” 2 The Government will also

introduce evidence of the defendant’s public support for and association with the “January 6

Choir,” a group of particularly violent January 6 defendants detained at the District of Columbia

jail. 3 The defendant’s decision to repeatedly stand behind January 6 rioters and their cause is

relevant to the jury’s determination of whether he intended the actions at the Capitol that day.

       The defendant’s actions in advance of, during, and following the riot at the Capitol

demonstrate that he did not act unwittingly or in good faith. Information about the actions at the



       2
         See, e.g., Fox News, Sunday Morning Futures (July 12, 2021), https://www.foxnews.com/
transcript/sunday-morning-futures-on-trumps-big-tech-lawsuit-us-and-china-relations;    Trump
Remarks at Faith & Freedom Conference (June 17, 2022), https://www.c-span.org/video/?521049-
1/pres-trump-speaks-investigation-faith-freedom-conference; CNN Town Hall (May 11, 2023),
https://www.cnn.com/2023/05/11/politics/transcript-cnn-town-hall-trump/index.html.
       3
         The defendant began a campaign rally in Waco, Texas, on March 25, 2023, by playing a
recording of the Star-Spangled Banner by the January 6 Choir. Of the January 6 Choir, the
defendant told the crowd, “[O]ur people love those people, they love those people.” See C-SPAN
at 2:44, https://www.c-span.org/video/?526860-1/president-trump-holds-rally-waco-texas. The
January 6 Choir includes defendants who assaulted law enforcement officers on January 6 and one
who used chemical spray on a Capitol Police officer who died the next day. See Washington Post,
Behind Trump’s Musical Tribute to Some of the Most Violent Jan. 6 Rioters (May 7, 2023),
https://www.washingtonpost.com/investigations/interactive/2023/trump-j6-prison-choir/.


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Capitol—of which the defendant was well aware—are therefore relevant to proving the

defendant’s motive and intent through his statements, actions, and inaction on and regarding

January 6.

               3.      Information about the events of the January 6 attack on the Capitol
                       provides necessary context for all the charged conduct

       The information that the defendant asks to strike also places his charged conduct in context.

See Watt, 911 F. Supp. at 554 (denying motion to strike indictment’s introductory language that

“provides the background necessary for a jury to understand the full scope of defendant’s activities,

and to place defendant’s conduct in the appropriate context”); United States v. Poindexter, 725 F.

Supp. 13, 37 (D.D.C. 1989) (denying request to strike background paragraphs that were relevant

to jury’s understanding of charged conduct). Details about the actions of the crowd at the Capitol

explain events that the defendant set in motion. The defendant sowed election mistrust, beckoned

supporters to his rally on January 6, hung the hopes of those “angry” supporters on the Vice

President, and directed them to the Capitol where the Vice President was presiding over the

certification. Those supporters, in turn, followed the defendant’s instruction to march to the

Capitol, turned against the Vice President when he did not halt the electoral vote count, and

contributed to the immense and violent crowd that breached the Capitol building, requiring

suspension of the certification proceedings. See Stedman, 2023 WL 3303818, at *1 (describing

crowd’s effect on delaying certification proceedings). Such information is essential to understand

how the certification proceeding on January 6 was interrupted and suspended, consistent with the

object of the defendant’s criminal conspiracies and with his efforts to obstruct those very

proceedings. Id. (“General evidence about the events on January 6—even if defendant did not

personally observe all of the conduct engaged in by others in multiple parts of the Capitol Building




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and restricted grounds—assists the jury in better understanding the parties’ actions that day and

thus the alleged criminal conduct of defendant.”).

        C.      Information about the January 6 Attack on the Capitol is Not Inflammatory
                or Unduly Prejudicial

        The defendant further characterizes the language he seeks to strike as “highly prejudicial

and inflammatory.” ECF No. 115 at 5. To the contrary, the indictment’s discussion of the actions

at the Capitol on January 6, far from being “designed to inflame the passions or prejudices of the

jury,” id. at 4 (citation omitted), is accurate.

        The indictment states that members of the crowd “broke through barriers” and “advanced

on the building, including by violently attacking law enforcement officers,” ECF No. 1 at ¶ 107,

and that after this “violent advancement” the crowd “broke into” or “breached” the Capitol

building, id. at ¶¶ 109, 110. It quotes various members of the crowd whose statements echoed the

defendant’s earlier criticisms of his Vice President. Id. at ¶ 113. Unlike the cases cited by the

defendant, ECF No. 115 at 4-5, the indictment does not name uncharged crimes, suggest the

defendant committed uncharged crimes, or imply that others have found the defendant culpable

for the charged conduct. See United States v. Singhal, 876 F. Supp. 2d 82, 103 (D.D.C. 2012)

(striking indictment reference to company “insider trading” policies, where defendants were not

charged with insider trading and obligations under the policy could not give rise to criminal

culpability); United States v. Hubbard, 474 F. Supp. 64, 83 (D.D.C. 1979) (striking, without further

analysis, language about an unrelated offense not substantively charged that “may be prejudicial”);

Poindexter, 725 F. Supp. 13, 36 (declining to strike properly descriptive and neutral terms, but

striking information suggesting that the defendant had already been found at fault for the charged

conduct).

        That the indictment’s factual recitation includes probative evidence that demonstrates the



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defendant’s responsibility for the violence of January 6 is no cause to strike. Because the defendant

is alleged to have committed conspiracies and obstruction that included encouraging and

capitalizing upon violence to further his crimes, the indictment’s accurate factual recitation of that

obstruction and violence is not unfairly prejudicial. See United States v. Roberson, 581 F. Supp.

3d 65, 75-76 (D.D.C. 2022) (“To be sure, evidence that depicts a defendant as a pedophile could

indeed stigmatize him in the eyes of the jury. But in a prosecution for distribution of child

pornography, such ‘prejudice’ can hardly be characterized as ‘unfair.’”). There is no basis to

exclude highly probative evidence that does not lead the jury to improper considerations. See

United States v. Looking Cloud, 419 F.3d 781, 785 (8th Cir. 2005) (“Evidence is not unfairly

prejudicial because it tends to prove guilt, but because it tends to encourage the jury to find guilt

from improper reasoning.”); United States v. Grimmond, 137 F.3d 823, 833 (4th Cir. 1998)

(“[D]amage to a defendant’s case is not a basis for excluding probative evidence. And for good

reason. Evidence that is highly probative invariably will be prejudicial to the defense.”); United

States v. Wilkins, 538 F. Supp. 3d 49, 73 (D.D.C. 2021) (prejudice inherent in evidence is not

unfair when it “stems from the legitimate probative force of the evidence and is directly related to

the central question in this case”). The Court should not strike language from the indictment

simply because its accurate description of the defendant’s crimes tends to show guilt.

       The defendant also complains that information about events at the Capitol should be struck

from the indictment because those events are a “hot topic” about which the public has “high

awareness” and “strong views[.]” ECF No. 115 at 4-5. Absent a showing—which the defendant

has not made—that the information is irrelevant, inflammatory, and prejudicial, public knowledge

of the attack on the Capitol is insufficient reason to strike language from the indictment. Cf. United

States v. Brock, 628 F. Supp. 3d 85, 94 (D.D.C. 2022) (“To show prejudice, a defendant must show




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more than juror familiarity with the case, or even a preliminary opinion of its merits.”), aff’d, 2023

WL 3671002 (D.C. Cir. May 25, 2023). At any rate, and as with any trial, “high awareness” or

“strong views” that might render potential jurors unable to fairly hear evidence and decide the case

can be determined and assessed using juror questionnaires, which the Court will use (ECF No.

130), and thorough voir dire. Brock, 628 F. Supp. 3d at 98 (“[A] vigorous voir dire should suffice

to root out any bias in individual jurors.”). Indeed, “multiple other January 6th cases have

proceeded to jury trials . . . in which voir dire has been successful in identifying unbiased jurors.”

United States v. Rhodes, 610 F. Supp. 3d 29, 59 (D.D.C. 2022).

IV.    Conclusion

       The allegations in the indictment are not unduly prejudicial or inflammatory. In fact,

evidence of the attack at the Capitol on January 6 is powerful and probative evidence of the

defendant’s conduct, motive, and intent. The Court should deny the defendant’s motion.



                                                         Respectfully submitted,

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